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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ERIN O’CALLAGHAN, VERONICA SHEPP,               )
KATHERINE LORENZ, ANNE KIRKNER,                 )
SARAH MALONE, and MARLEE FRY                    )
                                                )
            Plaintiffs,                         )
                                                )
            v.                                  )
                                                )
UNIVERSITY OF ILLINOIS AT CHICAGO, et al.,      )
                                                )
                                                )                  Case No. 19-CV-6271
            Defendants.                         )
________________________________________________)                  Judge John J. Tharp
                                                )
PAUL SCHEWE,                                    )                  Magistrate Judge Weisman
                                                )
            Counter-Plaintiff,                  )
                                                )
            v.                                  )
                                                )
ERIN O’CALLAGHAN,                               )
                                                )
            Counter-Defendant.                  )

                        DECLARATION OF ELVIS D. GONZALEZ

       Pursuant to 28 U.S.C.A. §1746, the undersigned declares under penalty of perjury under
the laws of the United States of America that the foregoing is true and correct.

        1.     I am over eighteen years of age and a citizen of the state of Illinois. I have
personal knowledge of the facts stated herein and if called as a witness could competently testify
to such facts.

        2.      I am an attorney of record in the above-entitled cause for Defendant/Counter-
Plaintiff, Paul Schewe (“Schewe”).

        3.       On December 10, 2021, I and my co-counsel, Nicholas Lewis, participated in a
LR37.2 conference with Plaintiffs’ counsel, Michael Fradin. During the course of that
conference, we discussed various deficiencies in Plaintiffs’ document production, including,
inter alia, the lack of communications between the Plaintiffs since Plaintiffs had only produced a
Facebook group chat and limited, selective direct text communications between Plaintiffs, Sarah
Malone and Erin O’Callaghan.
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        4.     In response to our concerns, Mr. Fradin represented in words or substance that
Plaintiffs were searching for, and would produce, additional responsive documents, but that he
did not anticipate substantially more documents from Plaintiffs. He further committed to
advising Schewe’s counsel of further responsive documents by January 14, 2022.

        5.     Following our conference, I transmitted an e-mail to Mr. Fradin, a true and
accurate copy of which is attached hereto as Exhibit 1. Mr. Fradin responded to my e-mail by
stating he would need until the end of the following week to advise whether Plaintiffs possessed
additional income documents because I had identified five returns in my e-mail that we had not
discussed on the telephone call. He further advised that he would need to discuss the issue of
IRS authorizations with his co-counsel.

        6.      I also participated in a subsequent telephonic discovery conference on January 21,
2022 with counsel for Plaintiffs, Annie Alonso, concerning issues raised in a Motion to Compel
we had filed. At that time, Ms. Alonso and I specifically discussed direct communications
between the Plaintiffs, including text messages and e-mails. During the conference, Ms. Alonso
represented to me that Plaintiffs maintained they did not possess further meaningful documents,
but would search for, and produce, any additional responsive material. I stated in words or
substance that it was not credible that Plaintiffs had not been communicating electronically about
topics identified in Schewe’s Requests to Produce Nos. 9 and 10. Ms. Alonso reiterated she
would seek any responsive material from Plaintiffs, and produce any such documents by
February 1, 2022 to permit time for a review before the scheduled depositions.

       7.      Following the conference, I transmitted an e-mail, a true and accurate copy of
which is attached hereto as Exhibit 2. Plaintiffs’ counsel did not respond to my e-mail.

      8.     Attached hereto as Group Exhibit 3 are true and accurate excerpts from
documents produced by Plaintiffs from February 16, 2022 through February 21, 2022.

       9.     On January 24, 2022, Ms. Alonso transmitted an e-mail to me in which Plaintiffs
produced 16 pages comprised of seven emails, and a one-page document attachment. In her e-
mail, Ms. Alonso stated the following:

               I have talked to our clients and here is the summation:

               1. Erin hasn't written her dissertation yet, so she doesn’t have that.
               2. She doesn't know who to contact for the podcast or the blog
               3. No one has any further mental health records. For releases, do you have one
               you want them to sign? We use a specific one for our firm, and I know many
               firms have their own, so just let me know.
               4. We object to the FERPA release to U of Cincy
               5. I have included to this email more emails from Veronica and Anne with Ms.
               Palmer and a lawyer from the school.
               6. I again asked about emails/texts between the parties, and I have been told that
               some of the clients don’t have those phones, so they don’t have those texts. I have
               asked the others to do another search and I will keep you posted.
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       10.     On February 16, 2022, I received correspondence from Julie Porter, counsel for
Co-Defendant, The Board of Trustees of the University of Illinois, a true and accurate copy of
which is attached hereto as Exhibit 4.

       FURTHER AFFIANT SAYETH NAUGHT



                                                  /s/ Elvis D. Gonzalez___________________
       March 4, 2022                              ELVIS D. GONZALEZ


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                    EXHIBIT


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                    EXHIBIT


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                    EXHIBIT


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                    EXHIBIT


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                    EXHIBIT


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                                      February 16, 2022

BY EMAIL
Annie Alonso (annie@sllawfirm.com)
Jonathan Little (jon@sllawfirm.com)
Michael Fradin (mike@fradinlaw.com)

      Re:     O’Callaghan, et al. v. The Board of Trustees of the University of Illinois,
              et al., Case No. 19-cv-06271 (N.D. Illinois);
              Discovery responses regarding Plaintiffs’ communications and
              Plaintiffs’ improper claim of “co-plaintiff privilege”

Counsel,

       We are writing to follow up on the depositions of plaintiffs that have been
completed as of February 15, 2022, specifically regarding their responses concerning
additional communication between plaintiffs as well as Mr. Fradin’s improper
instruction to the witnesses not to answer based on a claimed “co-plaintiff privilege.”

      Document Request for Plaintiffs’ Communications

       In Defendant the Board of Trustees of the University of Illinois’s document
requests, we made the following requests for plaintiffs’ communications and received
the following responses:

      Document Request 15. All documents and/or communications between or
      among Plaintiffs and/or any third parties concerning the University
      investigations into the Plaintiffs’ complaints.
      RESPONSE: Please see already produced documentation, including the
      Facebook Group of the Plaintiffs.

      Document Request 17. All phone, text message, email, social media, and/or
      any other communications or documents between or among Plaintiffs between
      July 1, 2016 and September 19, 2019.
      RESPONSE: Please see produced Facebook messages. Plaintiffs have no
      further responsive documentation.

      These responses do not disclose that communications exist and that plaintiffs
are withholding them based on any sort of privilege. Nor did plaintiffs produce a

     Sarah L. Bakker (Associate) | bakker@sppplaw.com | Chicago office | Admitted in Illinois
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privilege log identifying any communications withheld as privileged. Nor do these
responses include any specific objections to the requested documents. Rather, the
responses to Document Requests No. 15 and 17 indicate that plaintiffs have produced
all documentation that is responsive to the request. Plaintiffs’ deposition testimony,
however, indicates that these responses are not complete and accurate.

        For example, in her deposition on February 15, 2022, Veronica Shepp testified

            . Shepp rough Tr. at 82 (“


                                                         see also Fry Tr. at 81-82
(                                                                               ).1
This documentation was not produced in response to our request for production. No
objection was made stating that counsel was withholding such documentation on the
basis of any claimed privilege nor was a privilege log produced cataloging the
communication and claim of privilege.

       We have received Ms. Alonso’s email at 4:35pm CST on February 15, newly
producing 2,767 pages of emails between plaintiffs.2 We request that you supplement
your production of emails to include phone, text message, and social media
communications between plaintiffs as requested in Document Requests No. 15 and
17, produce a privilege log for any documents that are being withheld on the basis of
any claimed privilege. Once we receive your supplemental productions, we will review
and determine if we need to request additional time to question any of the plaintiffs.

        Additionally, in her deposition on February 15, 2022, Veronica Shepp testified

                                   We request that you produce the bills supporting
this claim for damages,                                                      . We also
request that you produce the entirety of the intake report for Ms. Shepp’s intake visit
to UIC counseling services. The single page previously produced, O’Callaghan002290,
was Exhibit 17 to Ms. Shepp’s deposition. Ms. Shepp testified

            .

1 We are still awaiting the transcripts (including the rough versions) from the depositions of Sarah
Malone and Anne Kirkner.
2 Ms. Alonso’s February 15 email accompanying the recently produced documents states, “Also, we do

not intend to waive privilege on any of these documents; such disclosure is inadvertent.” Please confirm
that you have reviewed these documents prior to production and withheld any privileged documents,
and that you are not relying on Defendant the Board of Trustees’ counsel to identify and isolate
privileged documents.
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      Improper Instruction Not to Answer Based on “Co-Plaintiff Privilege”

      In the depositions of Ms. Malone, Ms. Kirkner, Ms. Fry, and Ms. Shepp, Mr.
Fradin

                              Even after Ms. Porter or I


        See, e.g.,




     Fry Dep. Tr. at 82:7-19. In each deposition,
                                          . Ms. Porter followed up in an email on
February 14, outlining our objection to the instruction and the claim of privilege.

       In response and in support of plaintiffs’ assertion of a “co-plaintiff privilege,”
Ms. Alonso forwarded the case Diamond Services Mgmt. Co., LLC v. C&C Jewelry
Mfg., Inc., No. 19 C 7675, 2021 WL 1165091 (N.D. Ill. Mar. 26, 2021) on February 15.
Ms. Alonso did not explain how Diamond Services supports plaintiffs’ asserted
privilege claim, other than by stating, “While we are calling it co-plaintiff privilege,
what we mean is the ‘common interest’ privilege.”

       The common-interest doctrine “generally involves individuals represented by
separate counsel, not, as here, by the same lawyer.” McCullough v. Fraternal Ord. of
Police, Chicago Lodge 7, 304 F.R.D. 232, 239 (N.D. Ill. 2014). The doctrine is not
actually a privilege, “it is an exception to the general and familiar rule of waiver,
which obtains when a client communicates with his attorney in the presence of a third
person or shares privileged communications with a third party.” Id. “[T]o be eligible
for continued protection, the communication must be shared with the attorney of the
member of the community of interest.” Id. (quoting In re Teleglobe Communications
Corp., 493 F.3d 345, 364 (3d Cir. 2007)).
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       Diamond Services, the case plaintiffs cite, does not support plaintiffs’ claim. It
explains that the common-interest doctrine only applies to information that is
attorney-client privileged, and functions to prevent waiver of privilege by inclusion of
a third party who shares the privilege. “If plaintiffs cannot establish that the
redacted language is privileged or protected from disclosure in the first
place, the common-interest doctrine does not come into play.” Diamond
Services, 2021 WL 1165091 at *3 (emphasis added). Indeed, in Diamond Services, the
court rejected plaintiffs’ claim of privilege, and granted defendant’s motion to compel.
Id. at *5.

       The common-interest doctrine does not make privileged any communication
that plaintiffs had with each other after they retained counsel. Plaintiffs first must
establish that a communication is protected by attorney-client or work-product
privilege; only then could the common-interest doctrine apply to protect the privilege
from being waived. McCullough, 304 F.R.D. at 240 (“Unless the party asserting the
‘common interest’ establishes that the withheld communications or documents were
otherwise privileged, the ‘common interest’ doctrine does not come into play.”). And
even then, those sharing a common interest “are not free to share recollections and
pool information on their own without losing the protections of the doctrine
…C]ommunications between those claiming a common interest in a matter will not
escape the waiver doctrine if they occurred in the absence of an attorney or
were not directed by an attorney.” Id. at 239 (emphasis added).

      Plaintiffs have not even attempted to establish that the communications they
were asked about in their depositions were privileged; the common-interest doctrine
does not apply. Mr. Fradin’s instruction to the witnesses not to answer any questions
about communication they had with each other, after we clarified, repeatedly, that
we were not seeking any information regarding privileged communications with
counsel, was improper.

        Moreover, even for communications with counsel, we are entitled to ask
regarding the circumstances of plaintiffs’ communications—whether they occurred,
when, and how. Such information is no more than would be provided on a privilege
log, if plaintiffs are claiming that the substance of the communications is privileged.
If plaintiffs’ counsel persists in improperly instructing witnesses not to answer
whether they engaged in communications with other plaintiffs, and the dates and
modes of such communications, we will raise the issue with the Court once we receive
deposition transcripts, and we will seek our fees and costs in making the motion and
in having the witnesses return for further questioning.
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                              Regards,
                              SALVATORE PRESCOTT PORTER & PORTER


                              /s/ Sarah L. Bakker
                              Sarah L. Bakker

CC:   Elvis Gonzalez
      Nicholas Lewis
